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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 1:21-cv-24301-KMW

   KEITH F. BELL, PH.D.,

          Plaintiff,

   v.

   GERALD ALEXANDER,

          Defendant.


                       JOINT RESPONSE TO ORDER TO SHOW CAUSE

         Plaintiff Keith Bell (“Plaintiff”) and defendant Gerald Alexander (“Defendant”)

  (collectively, the “Parties”) jointly submit this response to the Court’s Paperless Order to Show

  Cause [D.E. 20], and state as follows:

         1.      As a threshold matter, the Parties concede that their Joint Scheduling Report was

  not timely filed in accordance with D.E. 7 and apologize to the Court for such oversight. After the

  Court pointed out the deficiency, counsel for the Parties immediately engaged in the requisite Rule

  26(f)/Local Rule 16.1(b) conference and have now filed their Joint Scheduling Report. See D.E.

  21.

         2.      Prior to the February 17, 2022 appearance of counsel, Plaintiff was proceeding pro

  se in this lawsuit. That does not excuse the Parties’ failure to comply with the Local Rules and/or

  Orders from this Court as pro se parties are expected to know and abide by the rules, but Plaintiff

  apparently overlooked the requirement in D.E. 7 of submitting the Joint Scheduling Report within

  20 days of Defendant filing his response to the Complaint.

         3.      On January 25, 2022, Defendant (through counsel) filed a motion to dismiss [D.E.



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  14] the Complaint. At the time, Defendant erroneously believed that D.E. 7 required submission

  of a Joint Scheduling Report only after Defendant filed a responsive pleading (rather than a

  12(b)(6) motion) and therefore was not aware that the Joint Scheduling Report was actually due.

         4.      Further, at or shortly before the Joint Scheduling Report was due, counsel for

  Defendant realized he had irreconcilable differences with his law partner and determined that he

  needed to move his group to another firm within an extremely short period of time (counsel for

  Defendant started at a new firm less than one week ago and is in the process of preparing

  appropriate substitution of counsel documents for the Court.)                    Counsel for Defendant

  unequivocally recognizes that this situation does not excuse his obligations to the Court, but amidst

  the chaos of these events counsel for Defendant improperly interpreted D.E. 7 and did not file the

  Joint Scheduling Report.

         5.      Plaintiff is now represented by counsel, and the Parties mutually understand that all

  rules of the Court must be complied with. Again, the Parties apologize to the Court for not

  previously complying with D.E. 7, and will make every necessary effort to comply with all Court

  deadlines/rules moving forward.

         Respectfully submitted on March 7, 2022.


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   Attorneys for Plaintiff                                   Attorneys for Defendant

   By: /s/ Daniel DeSouza, Esq.______                        By: /s/ Gregory S. Glasser, Esq._______
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          James D’Loughy, Esq.
          Florida Bar No.: 052700




                                   CERTIFICATE OF SERVICE

         I hereby certify that on March 7, 2022, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF, which will electronically serve all counsel of record.


                                                  /s/ Daniel DeSouza___
                                                  Daniel DeSouza




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